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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 GLORIA MITCHELL,
                                                  Case No. 1:16-cv-00076-BLW
                      Plaintiff,

     v.                                           JUDGMENT
 WINCO FOODS, LLC,

                      Defendant.




       In accordance with the Memorandum Decision and Order entered concurrently

herewith,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment be

entered in favor of defendant, and that this case be dismissed in its entirety.




                                                  DATED: March 7, 2017


                                                  _________________________
                                                  B. Lynn Winmill
                                                  Chief Judge
                                                  United States District Court




JUDGMENT - 1
